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                UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEW JERSEY
                     CAMDEN VICINAGE

                                         MDL No. 2875
IN RE: VALSARTAN, LOSARTAN, AND
IRBESARTAN PRODUCTS LIABILITY            Honorable Robert B. Kugler,
LITIGATION                               District Court Judge

                                         Honorable Thomas I. Vanaskie
                                         (Ret.), Special Discovery Master


ZHP’S SUR-REPLY BRIEF TO CORRECT FACTUAL INACCURACIES
         IN PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR RULE 37 SANCTIONS
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      INTRODUCTION
      Plaintiffs’ reply brief seeks to justify their bid for draconian sanctions and

avoid litigating their claims on the merits by professing to be experts in Chinese

administrative law and blaming ZHP for the decision by the People’s Republic of

China (“PRC”) not to permit ZHP’s Chief Executive Officer to travel out of China

to be deposed in this litigation. In addition, Plaintiffs continue to mischaracterize

ZHP’s written discovery efforts. Plaintiffs’ various misstatements and attacks do

not come close to supporting their sweeping request to strike ZHP’s defenses or

deem claims admitted.

      ARGUMENT
      A.     Plaintiffs’ Reply Mischaracterizes ZHP’s Good-Faith Efforts To
             Make Mr. Chen Available For Deposition.
      Plaintiffs’ reply contains multiple misstatements regarding ZHP’s attempt to

secure permission for Mr. Chen to leave China. For example:

      Plaintiffs’ statement that the parties scheduled Mr. Chen’s deposition

for May 31, 2021, but that ZHP unreasonably delayed in seeking permission

for Mr. Chen’s deposition until June 2021 is misleading. (Pls.’ Reply at 7.)

Plaintiffs ignore that on May 3, 2021, this Court postponed Mr. Chen’s deposition

until June 21-23, 2021, so that ZHP’s motion for a protective order under the

“apex” witness doctrine could be supplemented with the deposition testimony of
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former ZHP Vice Chairman, Jun Du. As Judge Vanaskie stated during the May 3,

2021 Case Management Conference:

             Now, I know what that means and that means we’re going
             to have to postpone Mr. Chen’s deposition, but I’m not
             going to postpone it for more than a couple of weeks. If I
             were to grant -- if I were to allow you to defer filing that
             motion until after Mr. Du’s deposition’s taken, we won’t
             have briefing on the motion completed until near the end
             of June. So, we’ll -- I think you asked for Mr. Chen’s
             deposition to be deferred until the week of June 21st.
             That’s what we’ll do. We’ll defer that to the week of June
             21st.
(Status Conf. Tr. 45:10-18, May 3, 2021 (ECF No. 1220).)
      Given the postponement of Mr. Chen’s deposition on May 3, 2021, ZHP did

not file the application for Mr. Chen’s travel permit until closer to the rescheduled

date of his deposition of June 21-23, 2021. ZHP submitted the travel permit

application to the ZHP Communist Party Committee on June 9, 2021, and the permit

was approved the next day. (Decl. of Sihan Lu (“Lu Decl.”) ¶ 6.)

      Plaintiffs falsely state that Sihan Lu’s declaration shows that she was

previously unaware of the requirement of submitting a travel permit

application and unfairly attacks ZHP for tasking Ms. Lu with such an

“important application.”      (Pls.’ Reply at 2.)    There is nothing in Ms. Lu’s

declaration that suggests she was unfamiliar with any aspect of the process for

submitting an application for a permit to travel out of China. To the contrary, the

declaration details the steps Ms. Lu took to apply for Mr. Chen’s travel permit,


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provides the information she received from the different approval authorities as she

was doing so, and shows that she fully and competently completed the application

process. (See Lu Decl. ¶¶ 4-15.)

      Plaintiffs erroneously accuse ZHP of submitting an “incomplete”

application by omitting the “Country/Region” and the “Opinions from the

leader in charge.” (Pls.’ Reply at 7.) Plaintiffs are neither experts in completing

the travel application form nor knowledgeable with respect to the procedures

involved in submitting travel permit applications; nor do they even attempt to cite

anything suggesting that the application required these pieces of information.

Plaintiffs also fail to understand what is meant by “Opinions from the leader in

charge,” much less what opinions were supposedly necessary. As the highest-

ranking official at ZHP, Mr. Chen is the “leader in charge”; thus, there is no person

at ZHP who oversees him and could have provided an opinion regarding the

application. That is why those parts of the application were left blank. In any event,

Plaintiffs have no basis to conclude that the absence of such as-yet-undefined

information could have had any bearing on the PRC’s decision to deny a travel

permit for Mr. Chen.

      Plaintiffs erroneously assert that the application contains an

“astonishingly generic explanation of the ‘Reasons for application and

period.’” (Pls.’ Reply at 7.) As previously noted, neither Plaintiffs nor their counsel


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are qualified to opine on the sufficiency of a form submitted on behalf of a Chinese

citizen and government member, requesting travel out of China. Moreover, Ms. Lu

clearly stated in her declaration that the approval authority understood that Mr. Chen

was seeking to travel out of China for a deposition. (See Lu Decl. ¶ 3.) Accordingly,

the reasons for the application were conveyed to—and understood by—the PRC

government.

      Plaintiffs falsely suggest that Mr. Chen “presumably could obtain

approval if he truly wanted” because he “heads” one of the two government

entities that denied the application. (Pls.’ Reply at 7-8.) The notion that Mr.

Chen could unilaterally grant himself a travel permit, or override the divisions of

the PRC government that denied that permit, is rank speculation. Moreover, Mr.

Chen is not a member of the other PRC government agency, which manages

immigration affairs in China and denied the travel permit application, further

refuting Plaintiffs’ speculation that the decision was somehow in Mr. Chen’s

control.

      B.      Plaintiffs’ Misstatements Regarding The Court’s Orders Related
              To ZHP’s Supplemental Document Production Demonstrate That
              Plaintiffs, Not ZHP, Are Acting In Bad Faith.
      Plaintiffs’ reply also contains various attacks on ZHP’s efforts to produce the

remaining documents subject to Special Master Order No. 54 (“SMO 54”). Most

fundamentally, they ignore that ZHP’s ongoing efforts to comply with the Court’s



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Order are subjecting ZHP to the risk of incurring penalties under China’s Data

Security Law, which itself belies Plaintiffs’ charges of bad faith. Plaintiffs also

overlook that it is they who have failed to meet and confer in good faith to discuss

ZHP’s proposals to produce the documents in question—the majority of which are

hard-copy nitrosamine testing records for valsartan API batches that were never

even sold in the United States. As ZHP has repeatedly told Plaintiffs (and as the

Court recognized in SMO 54), this undertaking is extremely burdensome and labor-

intensive, because it involves the identification, tagging and scanning of hard-copy

documents involving more than 5,800 batches. ZHP and its vendor have already

been working on this project for several weeks, but there have been several

unfortunate delays caused by stringent COVID-19 policies in China and the Chinese

New Year. ZHP expects that these documents will be produced to Plaintiffs by

March 18, 2022.

      Finally, Plaintiffs’ two purported bases for claiming that ZHP has acted in bad

faith with respect to its supplemental document production are not true. Specifically:

   • Plaintiffs assert that while the Court ordered production of Ms. Kong’s
     custodial file on May 12, 2021, ZHP waited until after China’s new Data
     Security Law went into effect on September 1, 2021 to assert that it was
     precluded from producing documents from that file. (See Pls.’ Reply at 8.)
     That is false. According to the Court’s own order, Ms. Kong’s custodial file
     was not ordered to be produced until November 12, 2021. (See SMO 54 (ECF
     No. 1753 at 5).)

   • Plaintiffs also claim that the documents in Ms. Kong’s custodial file “never
     should have been the subject of an Order since they were owed as part of the

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      primary productions.” (Pls.’ Reply at 8.) This is not true either. Ms. Kong
      was never on the list of Court-ordered custodians that comprised ZHP’s
      “primary production,” which is why ZHP was not under any obligation to
      produce Ms. Kong’s file until November 12, 2021. (Compare List of ZHP
      Custodians Approved by Magistrate Judge Schneider (ECF No. 328) and
      SMO 54 (ECF No. 1753 at 5) (“ZHP will be ordered to produce the relevant,
      non-privileged parts of Ms. Kong’s custodial file, and the impact of China’s
      recently-adopted privacy law will be addressed if raised as a ground for
      withholding from discovery this potentially significant source of
      discovery.”).)

      The reality is that by next month, ZHP will have complied with each and every

one of this Court’s Orders regarding the production of documents, despite the

significant obstacles presented by China’s Data Security Law, demonstrating ZHP’s

good faith and further proving that Plaintiffs’ request for sanctions is improper.

      CONCLUSION
      For the foregoing reasons, and those set forth in its prior briefing, ZHP

respectfully requests that the Court deny Plaintiffs’ motion for sanctions in

connection with the deposition of Mr. Chen and ZHP’s supplemental production of

documents.

Dated: February 28, 2022

                                              Respectfully submitted,

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                          CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on February 28, 2022, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to all CM/ECF participants in this matter.

                                                    /s/ Seth A. Goldberg
                                                    Seth A. Goldberg


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